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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                                                      HON.PATRICK J.DUGGAN
                                                      CASE NO.09-20579-10
UNITED STATES OF AMERICA,

-V-

DARRELL NICHOLS,

                                    /

                      ORDER EXTENDING REPORTING DATE
      The defendant having filed a Motion to Extend Reporting Date and the Government

having no objection; therefore

      IT IS ORDERED that the defendant report to the institution designated by the

Bureau of Prisons on April 26, 2011.



                           s/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: February 15, 2011

I hereby certify that a copy of the foregoing document was served upon counsel of record
on February 15, 2011, by electronic and/or ordinary mail.

                           s/Marilyn Orem
                           Case Manager
